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 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                                    FOR THE DISTRICT OF NEVADA
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 9                                                   ***
10
11    UNITED STATES OF AMERICA,                            2:12-CR-00084-JCM-GWF

12                           Plaintiff,
                                                           OMNIBUS MOTION TO UNSEAL
13    vs.                                                  SEARCH WARRANTS, PEN REGISTER
                                                           AND TRAP AND TRACE ORDERS, AND
14                                                         2703(D) ORDERS, FOR LIMITED USE
      THOMAS LAMB, et al.                                  IN DISCOVERY PRODUCTION
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16
                             Defendants.
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            COMES NOW the United States of America, by and through its attorneys, DANIEL G.
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     BOGDEN, United States Attorney, District of Nevada, and Kimberly M. Frayn, Assistant United
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     States Attorney, Las Vegas, Nevada, and represents to the Court that during the course of the last few
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     years, the Court issued numerous Search Warrants, Pen Register and Trap and Trace Orders, and
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     2703(d) Orders, related to an investigation conducted by USSS and HSI, of members of the
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     Carder.su Organization, concerning suspected violations of federal RICO, conspiracy, identity theft
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     and access device fraud laws, among others.
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            Contemporaneously with the issuance of the search warrants, the Court placed the warrants,
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     and affidavits in support of the search warrants, under seal until further order of the Court in order
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     to protect the integrity of the ongoing investigation and the identity of the undercover agents and
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 1   cooperating witnesses. Subsequently, the warrants were executed.
 2           Contemporaneously with the issuance of the Pen Register and Trap and Trace Orders, the
 3   Court placed the orders, and applications in support of the Pen Register and Trap and Trace Orders,
 4   under seal until further order of the Court in order to protect the integrity of the ongoing investigation
 5   and the identity of the undercover agents and cooperating witnesses. Subsequently, the Pen Register
 6   and Trap and Trace Orders were executed.
 7           Contemporaneously with the issuance of the 2703(d) Orders, the Court placed the orders,
 8   and applications in support of the 2703(d) Orders, under seal until further order of the Court in order
 9   to protect the integrity of the ongoing investigation and the identity of the undercover agents and
10   cooperating witnesses. Subsequently, the 2703(d) Orders were executed.
11           On or about January 10, 2012, a federal grand jury sitting in the District of Nevada returned
12   an indictment in case number 2:12-CR-0004-MMD-GWF. On or about March 13, 2012, that same
13   grand jury returned indictments in case numbers 2:12-0083-MMD-GWF; and 2:12-0084-MMD-
14   GWF. These cases have been joined for purposed of discovery issues and a defense discovery
15   repository has been designated. Counsel for the named defendants in these three cases, by and
16   through the defense discovery repository attorney, Karen Winckler, Esq., have requested discovery
17   in connection with the criminal prosecutions in these cases. The Search Warrants, Pen Register and
18   Trap and Trace Orders, and 2703(d) Orders and the supporting affidavits and applications are
19   relevant to these three cases, and the United States Attorney's Office for the District of Nevada seeks
20   permission to produce these documents to the defense discovery repository, subject to the terms set
21   forth in the Protection Orders previously entered in these matters, for the limited purpose of assisting
22   defense counsel in preparing for trial in case numbers 2:12-CR-0004-MMD-GWF; 2:12-0083-
23   MMD-GWF; and 2:12-0084-MMD-GWF. Counsel for the defendants do not oppose this motion.
24           Specifically, the government requests an order unsealing for the limited purpose of discovery
25   for the following Search Warrants and their supporting affidavits:
26   1.      2:07-MJ-786-LRL issued November 15, 2007.
27   2.      2:07-MJ-787-LRL issued November 15, 2007.
28   3       2:07-MJ-788-LRL issued November 15, 2007.

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 1   4.    2:07-MJ-789-LRL issued November 15, 2007.
 2   5.    2:08-MJ-098-PAL issued February 29, 2008.
 3   6.    2:08-MJ-685-PAL issued November 7, 2008.
 4   7.    2:09-MJ-352-LRL issued May 4, 2009.
 5   8.    2:09-MJ-504-LRL issued June 24, 2009.
 6   9.    2:09-MJ-545-LRL issued July 9, 2009.
 7   10.   2:10-MJ-1033-GWF issued on December 17, 2010.
 8   11.   2:10-MJ-1051-GWF issued on December 21, 2010.
 9   12.   2:11-MJ-180-GWF issued on March 11, 2011.
10   13.   2:11-MJ-181-GWF issued on March 11, 2011.
11   14.   2:11-MJ-182-GWF issued on March 25, 2011.
12   15.   2:11-MJ-183-GWF issued on March 11, 2011.
13   16.   2:11-MJ-184-GWF issued on March 11, 2011.
14   17.   2:11-MJ-185-GWF issued on March 11, 2011.
15   18.   2:11-MJ-186-GWF issued on March 11, 2011.
16   19.   2:11-MJ-243-PAL issued on April 15, 2011.
17   20.   2:11-MJ-244-PAL issued on April 15, 2011.
18   21.   2:11-MJ-245-PAL issued on April 15, 2011.
19   22.   2:11-MJ-246-PAL issued on April 15, 2011.
20   23.   2:11-MJ-295-GWF issued on May 6, 2011.
21   24.   2:11-MJ-296-GWF issued on May 6, 2011.
22   25.   2:11-MJ-297-GWF issued on May 6, 2011.
23   26.   2:11-MJ-373-GWF issued on June 6, 2011.
24   27.   2:11-MJ-374-GWF issued on June 6, 2011.
25   28.   2:11-MJ-375-GWF issued on June 6, 2011.
26   29.   2:11-MJ-376-GWF issued on June 6, 2011.
27   30.   2:11-MJ-447-GWF issued on July 5, 2011.
28   31.   2:11-MJ-448-GWF issued on July 5, 2011.

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 1   32.    2:12-MJ-123-GWF issued on March 6, 2012.
 2   33.    2:12-MJ-678-GWF issued on October 3, 2012.
 3          Specifically, the government requests an order unsealing for the limited purpose of discovery
 4   for the following the Pen Register and Trap and Trace Orders and their supporting applications:
 5   1.     2:09-MJ-546-LRL issued on July 9, 2009.
 6   2.     2:09-MJ-864-RJJ issued on November 6, 2009.
 7   3.     2:09-MJ-626-PAL issued on August 4, 2009.
 8   4.     2:09-MJ-627-PAL issued on August 4, 2009.
 9   5.     2:10-MJ-087-LRL issued on February 4, 2010.
10   6.     2:10-MJ-801-LRL issued on October 18, 2010.
11   7.     2:10-MJ-802-LRL issued on October 18, 2010.
12   8.     2:10-MJ-803-LRL issued on October 18, 2010.
13   9.     2:10-MJ-804-LRL issued on October 18, 2010.
14   10.    2:10-MJ-805-LRL issued on October 18, 2010.
15   11.    2:10-MJ-1037-PAL issued on December 21, 2010.
16   12.    2:10-MJ-1038-PAL issued on December 21, 2010.
17   13.    2:10-MJ-1039-PAL issued on December 21, 2010.
18   14.    2:10-MJ-1040-PAL issued on December 21, 2010.
19   15.    2:10-MJ-1041-PAL issued on December 21, 2010.
20   16.    2:10-MJ-1042-PAL issued on December 22, 2010.
21   17.    2:10-MJ-1043-PAL issued on December 22, 2010.
22   18.    2:10-MJ-1044-PAL issued on December 22, 2010.
23   19.    2:10-MJ-1045-PAL issued on December 22, 2010.
24   20.    2:10-MJ-1046-PAL issued on December 22, 2010.
25   21.    2:10-MJ-1047-PAL issued on December 22, 2010.
26   22.    2:10-MJ-1048-PAL issued on December 22, 2010.
27   23.    2:11-MJ-090-GWF issued on February 7, 2011.
28   24.    2:11-MJ-283-GWF issued on May 3, 2011.

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 1   25.    2:11-MJ-284-GWF issued on May 3, 2011.
 2   26.    2:11-MJ-389-RJJ issued on June 10, 2011.
 3   27.    2:11-MJ-390-RJJ issued on June 10, 2011.
 4          Specifically, the government requests an order unsealing for the limited purpose of discovery
 5   for the following the 2703(d) Orders and the supporting applications:
 6   1.     2:09-MJ-546-LRL issued on July 9, 2009.
 7   2.     2:09-MJ-644-PAL issued on August 7, 2009.
 8   3.     2:10-MJ-084-LRL issued on February 3, 2010.
 9   4.     2:10-MJ-3764-LRL issued on May 28, 2010.
10   5.     2:10-MJ-504-LRL issued on July 23, 2010.
11   6.     2:10-MJ-800-LRL issued on October 18, 2010.
12   7.     2:11-MJ-067-GWF issued on January 26, 2011.
13   8.     2:11-MJ-149-LRL issued on March 2, 2011.
14   9.     2:11-MJ-224-LRL issued on April 1, 2011.
15   10.    2:11-MJ-285-GWF issued on May 3, 2011.
16   11.    2:11-MJ-441-GWF issued on June 29, 2011.
17   12.    2:12-MJ-661-CWH issued on September 25, 2012.
18          WHEREFORE, the Government moves that this Court order the unsealing, subject to the
19   terms set forth in the Protection Orders previously entered in these matters, and for the limited
20   purpose of assisting defense counsel in preparing for trial, of the Search Warrants, Pen Register and
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 1   and Trap and Trace Orders, and 2703(d) Orders and the affidavits and applications in support thereof
 2   in this matter so that the government can produce them in case numbers 2:12-CR-0004-MMD-
 3   GWF; 2:12-0083-MMD-GWF; and 2:12-0084-MMD-GWF.
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 5          Dated this the 16 day of January 2013.
 6
 7                                         Respectfully submitted,
                                           DANIEL G. BOGDEN
 8                                         United States Attorney
 9
                                           /s/ Kimberly M. Frayn
10                                         KIMBERLY M. FRAYN
                                           Assistant United States Attorney
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                                           IT IS SO ORDERED.
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16                                         _______________________________________
                                           UNITED STATES DISTRICT COURT JUDGE
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18                                                     January 22, 2013
                                           DATED:
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